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HOWARD & HOWARD ATTORNEYS PLLC




                                 11   Attorneys for Defendants Rimini Street, Inc, and
                                      Seth Ravin
                                 12

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                                 14                                 UNITED STATES DISTRICT COURT

                                 15                                       DISTRICT OF NEVADA

                                 16 ORACLE USA, INC., a Colorado
                                    corporation; ORACLE AMERICA, INC., a                 Case No.: 2:10-cv-0106-LRH-PAL
                                 17 Delaware corporation; and ORACLE
                                    INTERNATIONAL CORPORATION, a
                                 18 California corporation,                              RIMINI STREET, INC.’S NOTICE OF
                                                                                         WITHDRAWAL OF COUNSEL, REQUEST
                                 19                         Plaintiffs,                  FOR LEAVE OF COURT TO REMOVE
                                                                                         NAMES FROM CM/ECF SYSTEM
                                 20          v.                                          SERVICE LIST, AND PROPOSED ORDER

                                 21 RIMINI STREET, INC., a Nevada
                                    corporation; and SETH RAVIN, an
                                 22 individual,

                                 23                         Defendants.

                                 24

                                 25          TO ALL CLERKS OF THIS COURT AND ALL PARTIES OF RECORD:

                                 26          Defendants, Rimini Street, Inc. and Seth Ravin (collectively “Rimini”), by and through their

                                 27 undersigned counsel of record, hereby file this Notice of Withdrawal of Counsel and request leave of

                                 28 Court to remove the names of withdrawn attorneys that remain listed as Rimini counsel of record who

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                                  1 no longer require service of notices, and to remove these attorneys’ names and affiliated email

                                  2 addresses from the Court’s CM/ECF System Service List in the above-entitled action.

                                  3          The following attorneys are hereby withdrawn as counsel of record for Rimini and shall be

                                  4 removed, along with any affiliated email addresses, from the Court’s CM/ECF System Service List in

                                  5 the above-entitled case:

                                  6          B. Trent Webb                 bwebb@shb.com, jglidewell@shb.com
                                  7
                                             Robert H. Reckers             rreckers@shb.com, dfaulk@shb.com, iplitigation@shb.com,
                                  8                                        jglidewell@shb.com

                                  9          Ryan D. Dykal                 rdykal@shb.com, jgarretson@shb.com
                                 10          Annie Y.S. Chuang             achuang@shb.com
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                                 11
                                             Michael Gray                  mgray@shb.com
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                                             David J. Niegowski            dniegowski@shb.com
                                 13
                                             Brandon Roos                  roosb@gtlaw.com, lvlitdock@gtlaw.com, rosehilla@gtlaw.com
                                 14

                                 15          Mark G Tratos                 tratosm@gtlaw.com, jacksonsa@gtlaw.com,
                                                                           lvlitdock@gtlaw.com, meitzj@gtlaw.com, neyc@gtlaw.com,
                                 16                                        pruntyd@gtlaw.com, rabeb@gtlaw.com,
                                                                           sheffieldm@gtlaw.com
                                 17

                                 18          All other counsel and law firms of record that have appeared shall continue to represent Rimini
                                 19 Street, Inc. in this matter.

                                 20          DATED: August 1, 2018                  HOWARD & HOWARD ATTORNEYS PLLC
                                 21                                                 By: /s/ W. West Allen
                                 22                                                 W. West Allen
                                                                                    Attorneys for Defendants
                                 23                                                 Rimini Street, Inc. and Seth Ravin

                                 24                                        IT IS SO ORDERED.
                                 25

                                 26                                        ____________________________________________
                                                                           UNITED STATES MAGISTRATE JUDGE
                                 27
                                                                           Dated:
                                 28

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                                  1                                      CERTIFICATE OF SERVICE

                                  2          I hereby certify that on August 1, 2018, a true and correct copy of the foregoing was

                                  3 electronically filed with the Clerk of the Court using the CM/ECF system, which will send a notice of

                                  4 electronic filing to counsel of record receiving electronic notification.

                                  5
                                                                                    /s/ Solana Louie
                                  6                                                 An Employee of Howard & Howard PLLC
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HOWARD & HOWARD ATTORNEYS PLLC




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